                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE

TERRY LYNN KING,                                      )
                                                      )
       Plaintiff,                                     )       CAPITAL CASE
                                                      )
v.                                                    )       Case No. 3:18-cv-01234
                                                      )
FRANK STRADA, et al.,                                 )       JUDGE CAMPBELL
                                                      )
       Defendants.                                    )


DONALD MIDDLEBROOKS,                                  )
                                                      )
       Plaintiff,                                     )       CAPITAL CASE
                                                      )
v.                                                    )       Case No. 3:19-cv-01139
                                                      )
FRANK STRADA, et al.,                                 )       JUDGE CAMPBELL
                                                      )
       Defendants.                                    )


                      DEFENDANTS’ NOTICE OF STATUS UPDATE


       Pursuant to this Court’s orders (King, D.E. 227; Middlebrooks, D.E. 78), Defendants

hereby provide notice to the Court regarding the status of corrective actions to comply with the

recommendations in the Report and Findings of the Tennessee Lethal Injection Protocol

Investigation (“Report”) and Governor Lee’s directives. (King, D.E. 229-1, 229-2; Middlebrooks,

D.E. 81-1, 81-2)

       The Tennessee Department of Correction (TDOC) has made substantial progress in

revising Tennessee’s lethal injection protocol. The revision of the protocol is a priority, is active,

and is ongoing. However, the Commissioner of TDOC is currently not prepared to provide a date

when a new lethal injection protocol will be finalized.


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                                               Respectfully submitted,

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                                CERTIFICATE OF SERVICE
       I certify that on July 31, 2023, a copy of the foregoing was filed and served via the

Court’s CM/ECF system on the following counsel for Middlebrooks:

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                                                            s/ Scott C. Sutherland
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